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  12                     UNITED STATES DISTRICT COURT
  13                    CENTRAL DISTRICT OF CALIFORNIA
  14
  15 VERNON UNSWORTH,                        Case No. 2:18-cv-08048
  16         Plaintiff,                      Judge: Hon. Stephen V. Wilson
  17        vs.                              DECLARATION OF ELON R. MUSK
                                             IN SUPPORT OF DEFENDANT’S
  18 ELON MUSK,                              MOTION FOR SUMMARY
                                             JUDGMENT, OR IN THE
  19         Defendant.                      ALTERNATIVE PARTIAL
                                             SUMMARY JUDGMENT
  20
                                             Complaint Filed: September 17, 2018
  21                                         Trial Date: December 2, 2019
  22                                         Hearing Date: October 28, 2019
                                             Time:         1:30 p.m.
  23                                         Courtroom:    10A
  24
  25
  26
  27
  28

                                                                  Case No. 2:18-cv-08048
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   1           I, Elon R. Musk, declare as follows:
   2           1.    I am the defendant in this action. I am the founder and CEO of Tesla,
   3 Inc., a publicly traded company, founder and CEO of Space Exploration
   4 Technologies Corp. (“SpaceX”), and founder of The Boring Company. I make this
   5 declaration of personal, firsthand knowledge, and if called and sworn as a witness, I
   6 could and would testify competently thereto.
   7           2.    I submit this declaration in support of my Motion for Summary
   8 Judgment, or in the Alternative, Partial Summary Judgment.
   9                     Request for Assistance in the Thai Cave Rescue
  10           3.    On or around June 23, 2018, twelve members of a Thai youth soccer
  11 team and their coach went missing in the Tham Luang Cave System in Thailand’s
  12 Chiang Rai province. Shortly after they went missing, the Thai government started
  13 a search and rescue mission to locate and retrieve the soccer team. I learned of and
  14 followed the efforts from press reports.
  15           4.    On July 3, 2018, Twitter user @MabzMagz asked me to join the rescue
  16 efforts and tweeted at my account “if possible can you assist in anyway to get the 12
  17 Thailand boys and their coach out of the cave.” A true and correct copy of that
  18 tweet is attached hereto as Exhibit A.
  19           5.    On July 4, 2018, I responded in a tweet, “I suspect that the Thai govt.
  20 has this under control, but I’m happy to help if there is a way to do so.” A true and
  21 correct copy of that tweet is attached hereto as Exhibit B.
  22           6.    Over the next day, several of my employees reached out to members of
  23 the Thai government, the United States Embassy in Thailand, private companies in
  24 Thailand, and members of the rescue dive team to see if there was a way for us to
  25 assist.
  26           7.    After getting confirmation that our assistance would be useful, my team
  27 and I then got to work.
  28

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   1                     Extensive Work to Develop Rescue Options
   2         8.    I mobilized more than 50 of my top engineers, manufacturers, and
   3 logistical specialists at SpaceX, Tesla, and The Boring Company to help rescue the
   4 stranded soccer team. I also immediately dispatched engineers to the cave system to
   5 obtain technical information about the rescue efforts and to assist in formulating a
   6 plan.
   7         9.    Based on the information they obtained about the constantly changing
   8 conditions in the cave, my team and I worked on three rescue strategies: surveying
   9 the cave system to potentially drill to the trapped boys, providing back-up power
  10 sources and water pumps if the weather conditions worsened, and creating three
  11 different versions of a mini-submarine that could be used to ferry members of the
  12 soccer team through the flooded cave to safety.
  13         10.   I communicated extensively with Richard Stanton, the leader of the
  14 British dive team at the rescue site, regarding the technical needs and specifications
  15 of the mission in order to effectively design and engineer the mini-submarine. A
  16 true and correct copy of my email correspondence with Mr. Stanton is attached
  17 hereto as Exhibit C.
  18         11.   On July 8, 2018, I emailed Mr. Stanton and stated that if the mini-
  19 submarine “isn’t needed or won’t help, that would be great to know.” Mr. Stanton
  20 responded that “it is absolutely worth continuing with the development of the
  21 system in as timely a manner as feasible. If the ran holds out it may well be used.”
  22 See Exhibit C.
  23         12.   Later that day, Mr. Stanton emailed me that “[w]e’re worried about the
  24 smallest lad please keep working on the capsule details.” See Exhibit C.
  25         13.   Between Friday July 6 and Sunday July 8, I, along with a team of
  26 engineers from SpaceX worked on designing, manufacturing, and testing the mini-
  27 submarines. We worked 24-hours a day, and most team members did not leave the
  28 Space X facility other than to obtain parts or perform pool tests. Once we

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   1 completed the most promising versions of the mini-submarine, we flew them
   2 approximately 18 hours from Los Angeles to Chiang Rai, Thailand.
   3        14.    Ultimately, the Thai Navy and dive team were able to rescue the soccer
   4 team without use of the mini-submarine.
   5        15.    I donated the min-submarines and ten power cells to the Thai Navy for
   6 use in future rescue missions. My team trained members of the Thai Navy on how
   7 to operate the mini-submarines.
   8        16.    The Thai prime minister personally thanked me and my team for our
   9 assistance and efforts. A true and correct copy of a letter that I received from the
  10 Thai prime minister is attached hereto as Exhibit D.
  11        17.    On July 10, 2018, I read a BBC article quoting the former governor of
  12 Chiang Rai who claimed that the mini-submarine was “not practical with our
  13 mission” to rescue the soccer team.
  14        18.    The governor was incorrect. I responded to the article in a tweet that
  15 included excerpts of my communications with Mr. Stanton. A true and correct copy
  16 of the tweet is attached hereto as Exhibit E.
  17               Unsworth’s False and Derogatory Comments About Me
  18        19.    On July 15, 2018, I saw a video of an interview that Vernon Unsworth
  19 gave to CNN International.
  20        20.    In the video, the reporter asked Mr. Unsworth what he thought of my
  21 idea to use a mini-submarine to help rescue the stranded soccer team. Mr. Unsworth
  22 responded that I “can stick his submarine where it hurts. It just had absolutely no
  23 chance of working. [I] had no conception of what the cave passage was like. The
  24 submarine, I believe, was about 5 foot 6 long, rigid, so it wouldn’t have gone round
  25 corners or round any obstacles. It wouldn’t have made the first fifty meters into the
  26 cave from the dive start point. Just a PR stunt.”
  27        21.    Mr. Unsworth also falsely stated that I was asked to leave the rescue
  28 site “very quickly.”

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   1         22.   After watching the video, I googled Mr. Unsworth. I learned from my
   2 search that he was a British expatriate who lived in the Chiang Rai province of
   3 Thailand. I googled Chiang Rai and read an article stating that it was a well-known
   4 hot spot for child prostitution and sex trafficking.
   5                                My July 15, 2018 Tweets
   6         23.   On July 15, 2018, I posted three tweets responding to Mr. Unsworth’s
   7 false claims and attack on the effort and character of my team and me. True and
   8 correct copies of the first three tweets that I posted in response to Mr. Unsworth’s
   9 interview are attached hereto as Exhibits F-H.
  10         24.   In the first tweet, I wrote “Never saw this British expat guy who lives
  11 in Thailand (sus) at any point when we were in the caves. Only people in sight were
  12 the Thai navy/army guys, who were great. Thai navy seals escorted us in – total
  13 opposite of wanting us to leave.” See Exhibit F.
  14         25.   By referring to Mr. Unsworth as “sus,” I did not intend to convey any
  15 facts. I was simply expressing my opinion that Mr. Unsworth seemed suspicious
  16 and that he appeared to be a weird guy.
  17         26.   In my second tweet, I wrote “Water level was actually very low & still
  18 (not flowing) – you could literally have swum to Cave 5 with no gear, which is obv
  19 how the kids got in. If not true, then I challenge this dude to show final rescue video.
  20 Huge credit to pump & generator team. Unsung heroes here.” See Exhibit G.
  21         27.   In my third tweet, I wrote “You know what, don’t bother showing the
  22 video. We will make one of the mini-sub/pod going all the way to Cave 5 no
  23 problem. Sorry pedo guy, you really did ask for it.” See Exhibit H.
  24         28.   By referring to Mr. Unsworth as “pedo guy,” I did not intend to convey
  25 any facts or imply that Mr. Unsworth had engaged in acts of pedophilia. “Pedo
  26 guy” was a common insult used in South Africa when I was growing up. It is
  27 synonymous with “creepy old man” and is used to insult a person’s appearance and
  28 demeanor, not accuse a person of acts of pedophilia.

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   1        29.    I did not intend to accuse Mr. Unsworth of engaging in acts of
   2 pedophilia. In response to his insults in the CNN interview, I meant to insult him
   3 back by expressing my opinion that he seemed like a creepy old man.
   4        30.    Finally, in response to a tweet referencing the insults I directed to Mr.
   5 Unsworth, I sent a fourth tweet on July 15, 2018 that stated, “bet ya a signed dollar
   6 its true.” A true and correct copy of that tweet is attached hereto as Exhibit I.
   7        31.    I deleted all four tweets on July 15, 2018, just a few hours after they
   8 were sent.
   9                               My Apology to Unsworth
  10        32.    On July 18, 2018, I sent two tweets apologizing to Mr. Unsworth. True
  11 and correct copies of those tweets are attached hereto as Exhibit J.
  12                            The Investigation of Unsworth
  13        33.    In August 2018, Jared Birchall, the president of my family office
  14 Excession LLC, and a close trusted aide, retained James Howard, a private
  15 investigator and president of the investigation firm Jupiter Military & Tactical
  16 Systems, to conduct an investigation of Mr. Unsworth on my behalf. In July, Mr.
  17 Howard sent me an unsolicited email in which he offered to conduct an
  18 investigation of Mr. Unsworth. A true and correct copy of that email is attached
  19 hereto as Exhibit N.
  20        34.    Mr. Birchall orally provided me with periodic updates regarding the
  21 investigation.
  22        35.    Shortly after we retained Mr. Howard, Mr. Birchall provided me with
  23 disturbing information that the investigator uncovered. For instance, before August
  24 28, 2018, Mr. Birchall informed me that the investigator reported that Mr. Unsworth
  25 met and began a relationship with his alleged Thai wife when she around twelve
  26 years old. Additionally, Mr. Birchall told me that Mr. Howard reported that Mr.
  27 Unsworth associated with Europeans who engage in improper sexual conduct in
  28 Thailand and had been traveling to Thailand since the 1980’s.

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   1        36.    In addition, in August 2018, Mr. Birchall told me that the investigator
   2 learned that Mr. Unsworth frequented Pattaya Beach which is well known for
   3 prostitution and sex tourism, and that Mr. Unsworth was unpopular at the rescue site
   4 because other rescue workers thought that he was “creepy.”
   5        37.    The last statement was consistent with a report I received from one of
   6 my employees who was present at the rescue that the dive team did not want Mr.
   7 Unsworth at the rescue site.
   8        38.    On August 28, 2018, in response to a tweet from TechCrunch reporter
   9 Drew Olanoff that my “dedication to facts and truth would have been wonderful if
  10 applied to that time when you called someone a pedo,” I tweeted “You don’t think
  11 it’s strange he hasn’t sued me? He was offered free legal services.” A true and
  12 correct copy of the twitter exchange is attached hereto as Exhibit K.
  13        39.    At the time I posted that tweet, I had already learned through Mr.
  14 Birchall about the investigator’s troubling initial reports about Mr. Unsworth.
  15                      My “Off The Record” Emails to BuzzFeed
  16        40.    On August 29, 2018, Ryan Mac, a reporter for BuzzFeed News, sent
  17 me an email requesting a comment on a story that he was writing regarding a
  18 demand letter that Mr. Unsworth’s attorney purportedly sent me. I responded to Mr.
  19 Mac’s email that morning. A true and correct copy of my email exchange with Mr.
  20 Mac is attached hereto as Exhibit L.
  21        41.    On the evening of August 30, 2018, after I learned from Mr. Birchall of
  22 the investigator’s latest reports concerning Mr. Unsworth, Mr. Mac sent a follow-up
  23 email. See Exhibit L.
  24        42.    I replied with two emails to Mr. Mac that evening.
  25        43.    I wrote “Off the record” at the top of my first email to Mr. Mac. See
  26 Ex. L. By writing “off the record,” I explicitly instructed Mr. Mac not to publish the
  27 contents of my email. I certainly did not authorize Mr. Mac or BuzzFeed to publish
  28

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   1 the contents of the email nor did I intend or expect that they would, especially
   2 without first independently verifying and confirming its information.
   3         44.   I wrote that Mr. Mac should “stop defending child rapists.” See Exhibit
   4 L. My description of Mr. Unsworth as a child rapist was based on Mr. Birchall’s
   5 summary of the investigator’s report that Mr. Unsworth began his relationship with
   6 his wife when she was twelve years old.
   7         45.   I wrote that Mr. Unsworth had been “traveling to or living in Thailand
   8 for 30 to 40 years, mostly Pattaya Beach, until moving to Chiang Rai for a child
   9 bride that was about 12 years old at the time.” See Exhibit L. This statement was
  10 based on Mr. Birchall’s summary of the investigator’s findings.
  11         46.   I also wrote that “there’s only one reason people go to Pattaya Beach.
  12 It isn’t where you go for caves, but it is where you’d go for something else.” See
  13 Exhibit L. This statement was based on Mr. Birchall’s summary of the
  14 investigator’s findings.
  15         47.   I wrote that “Chiang Rai is renowned for child sex-trafficking.” See
  16 Exhibit L. This statement was supported by and consistent with a Google search
  17 that I provided in the email.
  18         48.   I also wrote that “most of the actual dive team refused to hang out with
  19 [Mr. Unsworth].” See Exhibit L. This statement was based on Mr. Birchall’s
  20 summary of the investigator’s findings and the report of one of my employees that
  21 the dive team did not want Mr. Unsworth at the site.
  22         49.   At the time I sent the first email to Mr. Mac, I did not know or believe
  23 that any statements in the email were false. Nor did I entertain any serious doubts as
  24 to their truth.
  25         50.   I wrote “on background” at the top of my second August 30, 2018
  26 email to Mr. Mac. By writing “on background,” I explicitly instructed Mr. Mac not
  27 to publish the contents of my email. I did not authorize Mr. Mac or BuzzFeed to
  28 publish the contents of the email nor did I intend or expect that they would,

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   1 especially without first independently verifying and confirming its information. A
   2 true and correct copy of my second August 30, 2018 email to Mr. Mac is attached
   3 hereto as Exhibit M.
   4         51.    In my second email, I wrote that I “[n]ever saw Mr. Unsworth at any
   5 point. Was told he was banned from the site.” See Exhibit M. My statement that I
   6 never saw Mr. Unsworth was true and based on my own observations at the cave
   7 rescue site. My statement that I “was told he was banned from the site” was based
   8 on the report of one of my employees that the dive team did not want Mr. Unsworth
   9 at the site.
  10         52.    At the time I sent the second August 30, 2018 email to Mr. Mac, I did
  11 not know or believe that any statements in the email were false. Nor did I entertain
  12 any serious doubts as to their truth.
  13         53.    I provided BuzzFeed and Mr. Mac with summaries of the information
  14 about Mr. Unsworth that I learned through Mr. Birchall and the investigator so that
  15 BuzzFeed could conduct its own investigation into Mr. Unsworth and corroborate
  16 the information.
  17         54.    On September 4, 2018, Mr. Mac replied to my August 30, 2018 emails.
  18 Among other things, he wrote that he “didn’t agree for the conversation to be off the
  19 record” and he “tried to report out some of the accusations on [his] own but have not
  20 found anything to corroborate the claims.” See Exhibit L.
  21         55.    That same day, I responded in an email that “We haven’t had a
  22 conversation at all. I sent you an off the record email, which very clearly and
  23 unambiguously said, ‘off the record.’ If you want to publish off the record
  24 comments and destroy your journalistic credibility, that’s up to you. As for
  25 answering more questions, I would be happy to do so, but not with someone who
  26 just told me that they will not honor accepted rules of journalism.”
  27         56.    I was extremely surprised by Mr. Mac’s suggestion that he would not
  28 treat the August 30, 2018 emails as off-the-record. Throughout my career, I have

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    1 had numerous off-the-record interactions with reporters. In those interactions,
    2 reporters treated information as off-the-record and did not publish it whenever I
    3 identified it as such, regardless of whether or not we reached an explicit agreement
    4 before I shared the information. Thus, I understood that by designating my emails
    5 to Mr. Mac as off-the-record and on background their contents would not be shared.
    6        57.    Mr. Mac’s suggestion and ultimate decision to not treat the emails as
    7 off-the-record because he did not agree to do so before they were sent is not
    8 consistent with my prior off-the-record interactions with reporters.
    9
  10         [Signature follows on next page]
  11
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                         EXHIBIT A
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                                                                      Exhibit A, Page 11
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                         EXHIBIT B
Elon Musk on Twitter: "I suspect that the Thai govt has this under control...   https://twitter.com/elonmusk/status/1014509856777293825
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                                                                                                           Exhibit B, Page 12
1 of 1                                                                                                              9/13/2019, 9:48 PM
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                         EXHIBIT C
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      From:            flsla...MllSk
      To:              IbailaD!I
      Subject:         Fwd: This is Elon Musk
      Date:            Sunday, July 08, 2018 10:45:30 AM




      Begin forwarded message:


              From: Richard Stanton <resurgence42@gmajI com>
              Date: July 8, 2018 at 10: 13: 12 AM PDT
              To: Elon Musk



              We're worried about the smallest lad please keep working on the capsule detai ls

              Sent from my iPhone

              On 8 Jul 2018, at 08:48, Elon Musk                                wrote:


                    Sounds good, will continue.

                    Parts are being assembled and wi ll undergo testing in water in a few hours. Will send pies and
                    video. However, don't want to put it on a plane if you think there are important changes needed.
                    Operating principle is same as spacecraft design - no loss of life even with two failures.

                    On Jul 7, 20 18, at 6:30 PM, Richard Stanton <resurgence42@gmail com> wrote:


                           It is absolutely worth continuing with the development of this system in as timely a
                           manner as feasible.
                             If the rain holds out it may well be used.

                           Sent from my iPhone

                           On 8 Jul 2018, at 08:20, Elon Musk                                wrote:


                                       Understandable.

                                       Right now, I have one the world's best engineering teams who
                                       normally design spaceships and spacesuits working on this thing 24
                                       hours a day. We are trying to get it right in a very short period of time.

                                       If it isn' t needed or won ' t help, that would be great to know.
                                       Otherwise, it would be very helpful to have as much design direction as
                                       possible.


                                       On Jul 7, 2018, at 6:07 PM, Richard Stanton
                                       <resurgence42@gmai! com> wrote:

                                             Apologies, as the tone of that didn't come across well.
                                              We arc all sti ll very much on board with the concept ofa
                                             tube for safe evacuation.
                                                Though there docs need to be a much more thorough
                                             investigation of a ll the matters mentioned in my previous
                                             mail.
                                               I'm not going to be avai lable for the rest of the day

                                             Sent from my iPhone




                                                                                                                       Exhibit C, Page 13
                                                                                                                               MUSK 000693
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                       On 8 Jul 2018, at 07:53, Elon Musk
                       wrote:


                            With respect, I am trying to be helpful. Please
                            do not be rude.

                            On Jul 7, 2018, at 5:51 PM, Richard Stanton
                            <resurgence42@gmai1 com> wrote:


                                  With respect all l see is a tube,
                                   albeit made of fancy materials.
                                   We're ferrying in food in such a
                                  thing.
                                  The devil is in the detail.
                                  Breathing systems, off board gas
                                  venting systems, ballast trimming
                                  arrangements etc adding
                                  additional gas via Quick Release
                                  SCUBA compatible fittings.
                                    Why not have a long high
                                  pressure cylinder between the
                                  legs? Or a stepped tube with
                                  wider body and thinner leg
                                  section.

                                  Sent from my iPhone




                                        Will have more info
                                        for you soon. It is 35
                                        cm in diameter and
                                        160cm long. We can
                                        make more that are
                                        longer or s horter.

                                        Dua l air ports on
                                        front and rear (so
                                        possible to attach up
                                        to four tanks at
                                        once). Front ports are
                                        recessed into metal,
                                        so nol subject lo
                                        front damage. All
                                        ports have secondary
                                        caps in case a leak
                                        develops.

                                        With the front caps
                                        on, this is strong
                                        enough to be used as
                                        a battering ram if
                                        need be. Nose is
                                        2.5cm thick solid,
                                        high toughness 22 19
                                        alloy aluminium.

                                        It is made from very
                                        high strength rocket-
                                        grade a luminium.




                                                                              Exhibit C, Page 14
                                                                                      MUSK 000694
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                                  Cylinder section is
                                  what the Falcon
                                  rocket uses high
                                  pressure liquid
                                  oxygen transfer.

                                  Weighs 35kg.

                                  Will send pies in a
                                  few hours. Anything
                                  else that could be
                                  helpfu l? I am talking
                                  to the Prime Minister
                                  later today. Is there
                                  anything you would
                                  like me to convey?

                                  <image I .jpeg>

                                  On Jul 7, 20 18, at
                                  6:58 AM , Ric hard
                                  Stanton
                                  <resurgence42@gmai! com>
                                  wrote:


                                        It only
                                        needs to
                                        go to a
                                        water
                                        depth of
                                        5m, p lus
                                        some
                                        safety
                                        margin.

                                           Sent
                                           from my
                                           iPhone


                                                On
                                                7
                                                Jul
                                                2018,
                                                at
                                                18:00,
                                                Elon
                                                Musk




                                                Ok



                                                        On
                                                        Jul
                                                        7,
                                                        201 8,
                                                        at
                                                        3:54
                                                        AM,




                                                                      Exhibit C, Page 15
                                                                              MUSK 000695
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                                            Richard
                                            Sta nton
                                            <resurgence42@~mail com>
                                            wrote:



                                            I'm
                                            not
                                            sure
                                            about
                                            the
                                            rubber
                                            cocoon
                                            at
                                            it
                                            would
                                            transmit
                                            pressure
                                            onto
                                            the
                                            child.

                                            Rigid
                                            is
                                            better,
                                            plus
                                            02
                                            as
                                            a
                                            breathing
                                            gas
                                            rathe r
                                            than
                                            a ir.




                                            Sent
                                            from
                                            my
                                            iPhone



                                                  On
                                                  7
                                                  Jul
                                                  201 8,
                                                  at
                                                  17:46,
                                                  Elon
                                                  Mus k

                                                  wrote:



                                                  Ok



                                                  Building
                                                  both




                                                                       Exhibit C, Page 16
                                                                              MUSK_000696
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                                               a
                                               pressure
                                               resistant
                                               aluminium
                                               tube
                                               and
                                               a
                                               dry
                                               rnbber
                                               cocoon.



                                               Baseline
                                               requirement
                                               is
                                               that
                                               whether
                                               the
                                               person
                                               !S
                                               passed
                                               out
                                               or
                                               having
                                               a
                                               panic
                                               attack,
                                               they
                                               will
                                               still
                                               be
                                               fine.
                                               Also,
                                               110
                                               stray
                                               hoses
                                               that
                                               can
                                               get
                                               caught
                                               on
                                               anything
                                               or
                                               pulled
                                               out



                                               Basically
                                               a
                                               straightjacket
                                               with
                                               an
                                               air
                                               feed.



                                               ls
                                               this
                                               roughly
                                               the
                                               right
                                               direction?




                                                                      Exhibit C, Page 17
                                                                              MUSK 000697
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                                                   On
                                                   Ju l
                                                   7,
                                                   2018,
                                                   at
                                                   2:56
                                                   AM,
                                                   Richard
                                                   Stanton
                                                   <resurgence42@gmail com>
                                                   wrote:



                                                   We
                                                   don't
                                                   have
                                                   this,
                                                   it
                                                   won't
                                                   mean
                                                   anything
                                                   w ithout
                                                   scale.

                                                   If
                                                   you
                                                   make
                                                   a
                                                   capsule
                                                   which
                                                   tightly
                                                   encloses
                                                   a
                                                   15
                                                   year
                                                   old
                                                   boy,
                                                   and
                                                   110
                                                   bigger.
                                                   It
                                                   will
                                                   fit
                                                   through.



                                                   Sent
                                                   from
                                                   my
                                                   iPhone



                                                            On
                                                            7
                                                            Jul
                                                            20 18,
                                                            at
                                                            16:13,
                                                            Elon




                                                                              Exhibit C, Page 18
                                                                                      MUSK 000698
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                                                      wrote:



                                                      Would
                                                      it
                                                      be
                                                      possible
                                                      to
                                                      send
                                                      me
                                                      a
                                                      video
                                                      segments
                                                      or
                                                      several
                                                      pictures
                                                      of
                                                      the
                                                      most
                                                      difficult
                                                      sections?
                                                      This
                                                      would
                                                      be
                                                      extremely
                                                      helpful.



                                                           On
                                                           Jul
                                                           6,
                                                           20 18,
                                                           at
                                                           10:29
                                                           PM,
                                                           Richard
                                                           Stanton
                                                           <resurgeoce42@gmail com>
                                                           wrote:



                                                           Thanks
                                                            for
                                                           the
                                                           chat
                                                           just
                                                           now,
                                                           we're
                                                           not
                                                           going
                                                           to
                                                           be
                                                           available
                                                           for
                                                           any
                                                           communication
                                                           for
                                                           a
                                                           short
                                                           while.




                                                                             Exhibit C, Page 19
                                                                                      MUSK_000699
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                                                          Will
                                                         review
                                                         any
                                                         ideas
                                                         or
                                                         concepts
                                                         you
                                                         come
                                                         up
                                                         with
                                                         and
                                                         get
                                                         back
                                                         to
                                                         you
                                                         later.



                                                         Sent
                                                         from
                                                         my
                                                         iPhone



                                                                 On
                                                                 7
                                                                 Jul
                                                                 2018,
                                                                 at
                                                                 02:54,
                                                                 Elon
                                                                 Musk

                                                                 wrote:



                                                                 Are
                                                                 you
                                                                 one
                                                                 of
                                                                 the
                                                                 divers
                                                                 who
                                                                 understands
                                                                 the
                                                                 cave
                                                                 geometry?
                                                                 Trying
                                                                 to
                                                                 help
                                                                 out,
                                                                 but
                                                                 need
                                                                 to
                                                                 know
                                                                 the
                                                                 details
                                                                 of
                                                                 the




                                                                               Exhibit C, Page 20
                                                                                       MUSK_000700
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 25 of 53 Page ID #:491




                                                             most
                                                             problematic
                                                             areas.




                                                                           Exhibit C, Page 21
                                                                                   MUSK 000701
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                         EXHIBIT D
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 27 of 53 Page ID #:493




                                                                      Exhibit D, Page 22
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                         EXHIBIT E
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 29 of 53 Page ID #:495




                                                                      Exhibit E, Page 23
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 30 of 53 Page ID #:496




                         EXHIBIT F
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 31 of 53 Page ID #:497




                                                                      Exhibit F, Page 24
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 32 of 53 Page ID #:498




                         EXHIBIT G
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 33 of 53 Page ID #:499




                                                                     Exhibit G, Page 25
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 34 of 53 Page ID #:500




                         EXHIBIT H
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 35 of 53 Page ID #:501




                                                                                   Exhibit H, Page 26
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 36 of 53 Page ID #:502




                          EXHIBIT I
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 37 of 53 Page ID #:503




                                                                                   Exhibit I, Page 27
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 38 of 53 Page ID #:504




                          EXHIBIT J
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 39 of 53 Page ID #:505




                                                                      Exhibit J, Page 28
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 40 of 53 Page ID #:506




                         EXHIBIT K
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 41 of 53 Page ID #:507




                                                                      Exhibit K, Page 29
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 42 of 53 Page ID #:508




                         EXHIBIT L
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 43 of 53 Page ID #:509




       From:
       To:               ~
       Subject:          Re: BuuFeed News: Unsworth legal letter
       Date:             Tuesday, September 04, 2018 5:31 :45 PM


      Get lost, you creep

      On Sep 4, 2018, at 5:30 PM, Ryan Mac <cyan mac@buzzfeed com> wrote:


              Hey Elon,

              I'm sure you've seen the story at this point. Still happy to talk with you on
              whatever terms you want as long as we set them beforehand. Let me know if you
              want to do a phone call.

              Best,
              R




              On Tue, Sep 4, 2018 at 1: 18 PM, Elon Musk                           wrote:
               Off the record

                  I suggest you ask Unsworth to describe his whole - 30 year history of visiting
                  Thailand. What was he doing in Pattaya Beach for the better part of a decade
                  when there are no caves of note in the area?

                  On Sep 4, 2018, at 12:22 PM, Ryan Mac <cyan mac@buzzfeed com> wrote:


                        Hi Elon,

                        While I'd rather chat on the record, I'm happy to go off record with
                        you moving forward so you can answer specific questions
                        regarding the allegations you've made.

                        Thanks,
                        Ryan




                        On Tue, Sep 4, 2018 at I 0:53 AM, Elon Musk
                        wrote:
                         Off the record

                          We haven't had a conversation at all. I sent you an off the record
                          email, which very clearly and unambiguously said "off the




                                                                                                   Exhibit L, Page 30
                                                                                                           MUSK 000967
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                  record". If you want to publish off the record comments and
                  destroy your journalistic credibility, that's up to you.

                  As for answering more questions, I would be happy to do so, but
                  not with someone who just told me that they w ill not honor
                  accepted rules of journalism.

                  On Sep 4, 20 18, at 8:49 AM, Ryan Mac
                  <cyan mac@buzzfeed com> wrote:

                        Hi E lon,

                        I didn't agree for the conversation to be off the
                        record, but appreciate the response. To fo llow up,
                        I've tried to report out some of these accusations on
                        my own but have not found anything to corroborate
                        the claims. Are you able to share anything that
                        you've found about Vernon Unsworth? Do you have
                        any evidence or documentation showing he took a
                        12-year-old child bride, that he is a child rapist, or
                        that be was kicked off the rescue site, as you stated
                        in your other email? Also are you able to share your
                        correspondence with Rick Stanton showing your
                        discussion of the submarine specs?

                        With regards to your statement about the legal threat
                        not coming up until you raised the issue on Twitter,
                        the legal letter was dated on Aug. 6 and sent to your
                        Los Angeles home and to one of your SpaceX
                        emails. Did you not see the letter prior to your
                        tweets?

                        Thank you,
                        Ryan


                        0 Th        A30 2018 at 6:43 PM, Elon Musk
                                           wrote:
                          0     e eco d

                          I suggest that you call people you know in
                          Thailand, find out what's actually going on and
                          stop defending child rapists, you fucking asshole.
                          He's an old, single white guy from England who's
                          been traveling to or living in Thailand for 30 to 40
                          years, mostly Pattaya Beach, until moving to
                          Chiang Rai for a child bride who was about 12
                          years old at the time. There's only one reason
                          people go to Pattaya Beach. It isn' t where you'd go




                                                                                    Exhibit L, Page 31
                                                                                            MUSK 000968
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                        for caves, but it is where you'd go for something
                        else. Chiang Rai is renowned for child sex-
                        trafficking.

                        He may claim to know how to cave dive, but he
                        wasn' t on the cave dive rescue team and most of
                        the actual dive team refused to hang out w ith him.
                        I wonder why ...

                        https://www.google.com/search?
                        q=chiang+rai+child+trafficking&ie=UTF-
                        8&oe=lJTF-8&hl=en-us&cJ ient=safari
                        As for this alleged threat of a lawsuit, which
                        magically appeared when I raised the issue
                        (nothing was sent or raised beforehand), I fucking
                        hope he sues me.

                        On Aug 30, 20 18, at 6:07 PM, Ryan Mac
                        <cyan mac@buzzfeed com> wrote:

                              Hey Elon, just wanted to make sure I
                              did my due diligence to research basic
                              facts and fo llow up here.

                              Thanks,




                              Ryan Mac I Buzzfeed News I Senior
                              Technology Reporter Cell: (949) 315-9364
                              I Office: (415)477-1 620 I
                              @rmac18 I 121 2nd Street. 3rd Floor.
                              San Francisco CA 94105 I
                              https-1/www buzzfeed com/cyanmac




                              On Wed, Aug 29, 2018 at 9:06 AM,
                              Ryan Mac
                              <ryan.mac@buzzfeed.com> wrote:
                                Hey Elon, thanks for getting
                                back. Actually he prefers to be
                                called a "spelunker" and we've
                                confirmed that he actually does do
                                cave diving. But do you have any
                                comment on the letter your
                                received?




                                                                              Exhibit L, Page 32
                                                                                      MUSK 000969
Case 2:18-cv-08048-SVW-JC Document 60 Filed 09/16/19 Page 46 of 53 Page ID #:512




                             Ryan Mac I BuzzFeed News I Senior
                             Technology Reporter Cell: (949) 315-
                             9364 I Office: (415)477-1620 I
                             @rmac18 I I21 2nd Street 3rd floor
                             San Francisco CA 941 os I
                             https·//www buzzfeed com/eyanmac




                             OnWed,A~M,
                             ElonMusk . . . . . . . .
                             wrote:
                               Have you actually done any
                               research at all? For example, you
                               incorrectly state that he is a diver,
                               which shows that you know
                              essentially nothing and have not
                               even bothered to research basic
                               facts.

                               On Aug 29, 2018, at 7:40 AM,
                               Ryan Mac
                               <cyan mac@buzzfeed com>
                               wrote:


                                        Hi Elon,

                                     Ryan from BuzzFeed
                                     News here. We're
                                     reporting a story out
                                     about you receiving a
                                     letter from a lawyer
                                     representing British
                                     diver Vernon
                                     Unsworth. The letter,
                                     dated August 6, was
                                     sent to your Los
                                     Angeles home and
                                     discusses potential
                                     legal proceedings
                                     against you for libel.

                                        Given the Twitter
                                        conversation
                                        yesterday, I was
                                        hoping you could talk




                                                                       Exhibit L, Page 33
                                                                               MUSK 000970
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                                   about the letter and
                                   whether you had seen
                                    it yet. I'm happy to
                                   chat on the phone if
                                   -                llmeat


                                   Best,


                                   I•
                                   Ryan Mac I BuzzFeed
                                   News I Senior
                                   Technology Reporter
                                   Cell: (949) 315-9364 I
                                   Office: (415) 477- 1620 I
                                   @rmac18 I 121 2nd
                                   Street 3rd f loor San
                                   Francisco CA 94105 I
                                   https ·Uwww buzzfeed com/eyanm
                                   ill.




                                                                      Exhibit L, Page 34
                                                                              MUSK 000971
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                         EXHIBIT M
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       From:           ~
       To:             rvan mac@buzzfeed.com
       Subject:        Fwd: Letters
       Date:           Thursday, August 30, 2018 7: 16:04 PM
       Attachments:    Scannable Document on Aug 30, 2018 at 6 55 21 PM.pdf
                       ATIOOOOl.htm


      On background

      Unsworth also said I was asked to leave by the Thai govt, which is utterly false. Thai Prime
      Minister thanked me personally per attached docs. I went all the way to area 3 with the Thai
      SEAL team, who were awesome. Never saw Unsworth at any point. Was told he was banned
      from the site.

      It is also total bs that the mini-sub wouldn't fit through the caves. It was designed and built to
      specifications provided to me directly by Stanton and the actual dive team. The only reason it
      wasn't used was that they were able to drain almost all the water out of the caves, so the
      underwater portion was very short, and the monsoon arrived later than expected.

      Those pumps were critical. Some of the Tesla team helped with electrical power, but major
      credit to whoever provided those pumps. They were amazing. I'm told they were from some
      company in India.

      Begin forwarded message:




                                                                                                    Exhibit M, Page 35
                                                                                                            MUSK_000647
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                         EXHIBIT N
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                                                                      Exhibit N, Page 36
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                                                                      Exhibit N, Page 37
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                                                                      Exhibit N, Page 38
